Case 4:04-cr-40039-JPG   Document 257 Filed 07/22/05   Page 1 of 6   Page ID
                                   #478
Case 4:04-cr-40039-JPG   Document 257 Filed 07/22/05   Page 2 of 6   Page ID
                                   #479
Case 4:04-cr-40039-JPG   Document 257 Filed 07/22/05   Page 3 of 6   Page ID
                                   #480
Case 4:04-cr-40039-JPG   Document 257 Filed 07/22/05   Page 4 of 6   Page ID
                                   #481
Case 4:04-cr-40039-JPG   Document 257 Filed 07/22/05   Page 5 of 6   Page ID
                                   #482
Case 4:04-cr-40039-JPG   Document 257 Filed 07/22/05   Page 6 of 6   Page ID
                                   #483
